                                                                                               FILED
                                                                                            AUG 07 2015
                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                     Case No.

                                              }
                           )
Plaintiff(s),l-0 KShn'l ~\~
                         '


                           )
vs                         )
                           )

Defendant(s).Smt\::hR~kli{x~ ?
                            ~ fannbfit)
 DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER ENTITIES WITH A
             DIRECT FINANCIAL INTEREST IN LITIGATION

Pursuant to Fed.R.Civ.P. 7.1 and Local Civil Rule 7.3, or Fed.R.Crim.P. 12.4 and Local Criminal
Rule 12.3,               h
SmdfWlci'Poe.rJ"~
            ""-:J
(name of party)
                  la~~~               (plaintiff/defendant/other:_ _ _ _ _..__/

makes the following disclosure:

1. Is party a publicly held corporation or other publicly held entity?

       YES        e                   NO     0
2. Does party have any parent corporations?

       YES        0                   NO     e
If yes, identify all parent corporation, including grandparent and great-grandparent corporations:


3. Is 10% or more of the stock of a party owned by a publicly held corporation or other
publicly held entity?

       YES     Q                      NO     e
If yes, identify all such owners:




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4. Is there any other publicly held corporation or other publicly held entity that has a direct
financial interest in the outcome of the litigation (Local Civil Rule 7.3 or Local Criminal Rule 12.3)?

        YES     0                       NO        e
If yes, identify entity and nature of interest:


5. Is party a trade association?

        YES    0                        NO        e
If yes, identify all members of the association, their parent corporations, and any publicly held
companies that own 10% or more of a member's stock:


6. If case arises out of a bankruptcy proceeding, identify any trustee and the members of any
creditors's committee:




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